      6:22-cv-03377-HMH         Date Filed 09/30/22       Entry Number 1    Page 1 of 4




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             GREENVILLE DIVISION

Kristina A. Lepow,                   )       C.A. No.:
                                     )
              Plaintiff,             )
                                     )
       vs.                           )       COMPLAINT
                                     )
Anthem Insurance Companies,          )
Inc.,                                )
                                     )
              Defendant.             )

       The Plaintiff, complaining of the Defendant herein, would show unto this Honorable

Court as follows:

                                                I.

       Plaintiff is a citizen and resident of Virginia.

                                                II.

       Defendant is an insurance company organized and existing pursuant to the laws of

one of the States of the United States, and which does business in Greenville, South Carolina.

                                               III.

       In this matter, Plaintiff seeks health insurance benefits under an ERISA plan pursuant

to 29 U.S.C. § 1132(a)(1)(B) and that this court has jurisdiction to hear this matter based

upon a federal question.

                                               IV.

       Plaintiff is provided health insurance through her employer via a plan which is fully

insured by Defendant. Besides being the insurer of the plan, Defendant is also the sole entity

responsible for determining whether claims such as the Plaintiff’s should be paid.


                                           Page 1 of 4
      6:22-cv-03377-HMH         Date Filed 09/30/22     Entry Number 1       Page 2 of 4




Accordingly, Defendant is the claim administrator and a fiduciary of the plan for the purpose

of deciding whether benefits are payable. As the claim administrator, insurer, and fiduciary

of the plan in which Plaintiff participated the Defendant is a proper party Defendant in the

matter sub judice wherein Plaintiff seeks benefits pursuant to ERISA 29 U.S.C.

§1132(a)(1)(B).

                                              V.

       Plaintiff underwent inpatient stay on July 31, 2019 for certain medical treatment and

the resulting claims were submitted to Defendant for processing and payment.

                                              VI.

       Defendant denied Plaintiff’s claim. Plaintiff appealed the denial, but Defendant has

failed to reach a decision on Plaintiff’s appeal in a timely manner and, Plaintiff deems that

her claim is denied as is her right per 29 C.F.R. §2560.503-1, and that her administrative

remedies are fully exhausted.

                                              VII.

       Defendant made its claim decision while operating under a conflict of interest which

significantly influenced the Defendant to deny Plaintiff’s claim. The Defendant’s decision

was not based upon substantial evidence or the result of a principled and reasoned decision-

making process. Instead, the Defendant’s decision was reached by Defendant ignoring

relevant evidence pertaining to Plaintiff’s claim and, instead, relying upon biased

information and flawed expert opinions. Accordingly, Defendant operated under a conflict

of interest which improperly and significantly influenced its claim decision.

                           FOR A FIRST CAUSE OF ACTION

                                             VIII.

                                          Page 2 of 4
      6:22-cv-03377-HMH            Date Filed 09/30/22       Entry Number 1       Page 3 of 4




          Plaintiff incorporates all prior allegations, where not inconsistent, as if fully set forth

herein.

                                                  IX.

          Plaintiff respectfully requests that this Court consider the administrative record

compiled in this case and any other evidence relevant to factors made relevant by Champion

v. Black & Decker, 550 F.3d 353 (4th Cir. 2008) and declare, pursuant to 29 U.S.C.

§1132(a)(1)(B) that Plaintiff is entitled to the health insurance benefits which she seeks

under the terms of the plan. In the event that the court reviews the record and/or other

relevant information and determines that the Defendant abused its discretion or that its

decision is not supported by the record, but that the substance of the record might not support

Plaintiff’s entitlement to benefits then Plaintiff respectfully asks that, in the event of such a

finding, that the court exercise its inherent power to remand Plaintiff’s claim for a “full and

fair” review by the appropriate claim fiduciary Defendant. Should the court award Plaintiff

any part of the relief requested, Plaintiff additionally requests that the Court award her

attorney’s fees and costs pursuant to 29 U.S.C. §1132(g).

          WHEREFORE, having fully stated her complaint against the Defendant, Plaintiff

prays for a declaration of entitlement to the health insurance benefits she seeks pursuant to

29 U.S.C. §1132(a)(1)(B), attorney’s fees and costs pursuant to 29 U.S.C. §1132(g), and

such other and further relief as this Court deems just and proper, including pre-judgment

interest on all benefits due from the point at which benefits were payable through the time of

judgment.




                                              Page 3 of 4
     6:22-cv-03377-HMH     Date Filed 09/30/22   Entry Number 1   Page 4 of 4




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                                   Page 4 of 4
